Affirmed and Memorandum Opinion filed August 11, 2016.




                                     In The

                    Fourteenth Court of Appeals

                             NO. 14-15-00959-CR

                    JOHN EDWARD THEALL, Appellant
                                       V.
                      THE STATE OF TEXAS, Appellee

                   On Appeal from the 337th District Court
                           Harris County, Texas
                       Trial Court Cause No. 1460903

                MEMORANDUM                     OPINION
      Appellant John Edward Theall appeals his conviction for sexual assault of a
child between 14 and 17 years of age. Tex. Pen. Code Ann. § 22.011(a)(2)(B).
Appellant’s appointed counsel filed a brief in which she concludes the appeal is
wholly frivolous and without merit. The brief meets the requirements of Anders v.
California, 386 U.S. 738 (1967), by presenting a professional evaluation of the
record and demonstrating why there are no arguable grounds to be advanced. See
High v. State, 573 S.W.2d 807, 811–13 (Tex. Crim. App. 1978).
      A copy of counsel’s brief and the appellate record was delivered to
appellant. Appellant filed a pro se response to the brief. See Stafford v. State, 813
S.W.2d 503, 512 (Tex. Crim. App. 1991).

      We have reviewed the record, counsel’s brief, and appellant’s pro se
response carefully and agree the appeal is wholly frivolous and without merit.
Further, we find no reversible error in the record. We are not to address the merits
of each claim raised in an Anders brief or a pro se response when we have
determined there are no arguable grounds for review. See Bledsoe v. State, 178
S.W.3d 824, 827–28 (Tex. Crim. App. 2005).

      Accordingly, the judgment of the trial court is affirmed.



                                  PER CURIAM



Panel consists of Chief Justice Frost and Justices Boyce and Christopher.
Do Not Publish — Tex. R. App. P. 47.2(b).




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